                                 Case 22-10537-MFW                      Doc 1        Filed 06/14/22           Page 1 of 15


Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       7
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Electric Last Mile Solutions, Inc.

2.   All other names debtor
     used in the last 8 years
                                  Forum Merger III Corporation
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  1055 W Square Lake Road
                                  Troy, MI 48098
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Oakland                                                           Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://electriclastmile.com/


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Electric Last Mile Solutions, Inc.                                                          Case number (if known)
          Name


7.   Describe debtor's business       A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                      B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              3361

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 04/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return, or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No
     cases filed by or against
                                          Yes
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a
                                          Yes
    business partner or an
    affiliate of the debtor?




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                       Case 22-10537-MFW                     Doc 1        Filed 06/14/22              Page 3 of 15
Debtor    Electric Last Mile Solutions, Inc.                                                            Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor      See Schedule 1, attached                                      Relationship


                                                   District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                             preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                      It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                      Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                      No
                                                      Yes Insurance agency
                                                              Contact name
                                                              Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                   Funds will be available for distribution to unsecured creditors.
                                                   After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                            1,000-5,000                                25,001-50,000
    creditors
                                           50-99                                           5001-10,000                                50,001-100,000
                                           100-199                                         10,001-25,000                              More than 100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                            $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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                                                                                                         Casenimber(l moiori)
    Debtor   Electric Last Mlle Solutions, Inc.
             Name                                                                                                               ------------ --
-             Request for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement In connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonmentforupto20years, orboth.18 U.S.C. §§ 152, 1341, 1519, and 3571 .

    17. Declaration and signature
        of authorized                The debtor requeata relief in accordance with the chapter of title 11, United States Code, specified in this petition.
        representatlye of debtor
                                     I have   been authorized to file this petition on behalf of the debtor.

                                     I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                     I declare   under penalty of perjury that the foregoing is true and correct.

                                     Executed on          06/14/2022


                                 XToinatui;;aGtitiic~dni~seni iii;eoideiiiior--                                ..:.R:::::O:,:be.:,:rt:,:.=:S.:,:on:.:.ez...__ _ _ _ _ _ _ _ __
                                     .::                                                                        Printed name

                                     Trtle     CFO and Treasurer




                                                                                                                           06/14/2022
    18. Signature of attorney    X   Isl Kara Hammond Coyle
                                     Signature of attorney for debtor
                                                                                                                 Date ____     --=-~-,-------- --
                                                                                                                       MM/00/YYYY

                                     Kara Hammond Coyle
                                     Printed name

                                     Young Conaway Stargatt & Taylor, LLP
                                     Firm name

                                     Rodney Square
                                     1000 N. King Street
                                     Wilmington, DE 19801
                                     Number, Street, City, State & ZIP Code


                                     Contact phone        (302) 571-6600                Email address      kcoyle@ycstcom

                                     4410 DE
                                     Bar number and State




     Official Form 201                           Voluntary Petition for Non-Individuals Flllng for Bankruptcy                                                            page4
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                                                     SCHEDULE 1


                  Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities listed below filed a petition in this court for relief under
         chapter 7 of title 11 of the United States Code.

         1.     Electric Last Mile, Inc.

         2.     Electric Last Mile Solutions, Inc.




29403165.1
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                             SECRETARY CERTIFICATE


             The undersigned, being the Secretary of Electric Last Mile Solutions, Inc., a
Delaware corporation (the “Company”), hereby certifies as follows:

             1.     I am the duly qualified and elected Secretary of the Company and, as such,
                    am familiar with the facts herein certified and am duly authorized to certify
                    the same on behalf of the Company.

             2.     Attached hereto is a true and complete copy of the Resolutions of the
                    majority of the Board of Directors of the Company (the “Board”), duly
                    adopted at a properly convened meeting of the Board on June 12, 2022, by
                    vote of the majority of the Board, in accordance with the Delaware General
                    Corporation Law, the Certificate of Incorporation of the Company, and the
                    Bylaws of the Company.

             3.     Such resolutions have not been amended, altered, annulled, rescinded, or
                    revoked, and are in full force and effect as of the date hereof. There exist
                    no other subsequent resolutions of the Board relating to the matters set forth
                    in the resolution attached hereto.

               IN WITNESS WHEREOF, the undersigned has executed this certificate as of the
12th day of June, 2022.



                                                   _____________________________
                                                   Name: Thomas M. Dono Jr.
                                                   Title: Corporate Secretary
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                                  RESOLUTIONS
                                     OF THE
                       MAJORITY OF THE BOARD OF DIRECTORS
                                       OF
                        ELECTRIC LAST MILE SOLUTIONS, INC.

                                           June 12, 2022

               The undersigned, being the majority of the board of directors (the “Board”) of
Electric Last Mile Solutions, Inc., a Delaware corporation (the “Company”), after a duly noticed
meeting of the Board, hereby vote for, adopt, approve and consent to the following resolutions in
accordance with the Certificate of Incorporation of the Company, the Bylaws of the Company, and
Delaware General Corporation Law:

Chapter 7 Petition

               WHEREAS, the Board has considered the financial and operational condition of
the Company and the Company’s business on the date hereof, the assets of the Company, the
current and long-term liabilities of the Company, and the recommendations of the Company’s legal
and restructuring advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding
under the provisions of title 11 of the United States Code (the “Bankruptcy Code”);

            WHEREAS, on June 12, 2022, a meeting of the Board was held to discuss
commencing such bankruptcy proceeding; and

              WHEREAS, a majority of the Board has determined that it is in the best interest
of the Company and the Company’s stockholders, stakeholders, creditors, and other interested
parties to commence a case under chapter 7 the Bankruptcy Code.

               NOW, THEREFORE, BE IT:

                 RESOLVED, that, in the judgment of the majority of the Board, it is desirable and
in the best interests of the Company, and the Company’s stockholders, stakeholders, creditors, and
other interested parties, that a voluntary petition (the “Petition”) be filed by the Company under
the provisions of chapter 7 of the Bankruptcy Code; and it is further

                RESOLVED, that the officers of the Company, including but not limited to the
chief executive officer, president, chief financial officer, treasurer, chief legal officer, secretary
and any vice presidents, assistant treasurers and assistant secretaries (each, an “Authorized
Officer,” and collectively, the “Authorized Officers”), be, and each hereby is, authorized, directed,
and empowered (i) to execute and verify the Petition and all documents ancillary thereto, and to
cause the Petition to be filed with the United States Bankruptcy Court for the District of Delaware,
such Petition to be filed at such time as an Authorized Officer shall determine and to be in the form
approved by the Authorized Officer, with the execution thereof by any such Authorized Officer
being conclusive evidence of the approval thereof by the Authorized Officers; (ii) to make or cause
to be made prior to the execution thereof any modifications to the Petition or such ancillary
documents that, in the judgment of the Authorized Officers, may be necessary, appropriate, or
desirable; and (iii) to execute, verify, and file or cause to be filed all other petitions, schedules,
               Case 22-10537-MFW           Doc 1     Filed 06/14/22     Page 8 of 15




lists, motions, applications, declarations, affidavits, and other papers or documents that, in the
judgment of the Authorized Officers, may be necessary, appropriate, or desirable in connection
with the foregoing; and it is further

                RESOLVED, that Young Conaway Stargatt & Taylor, LLP is authorized and
empowered to represent the Company as its general bankruptcy counsel on the terms set forth in
its engagement letter with the Company, which is hereby ratified and approved, and to represent
and assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and
all actions to advance the Company’s rights, including, without limitation, and the preparation of
certain documents to be filed simultaneously with the Petition or during the bankruptcy case.

Payroll Matters

              WHEREAS, the Company wishes to maximize the final take home pay to be paid
to employees as permitted by law; and

              WHEREAS, given the proximity of the last pay day to the Chapter 7 filing, the
employees’ Elective Deferrals for the Electric Last Mile Solutions 401(k) Plan (the “401(k) Plan”)
and employee contributions into the Company’s Health Savings Account (the “HSA”) withheld
from the employees’ paychecks may not be timely deposited into the employees’ accounts in the
401(k) Plan and the HSA.

               NOW, THEREFORE, BE IT:

               RESOLVED, that Company withholdings from employee paychecks for the
employees’ Elective Deferrals into the 401(k) Plan and employee contributions into the HSA
pursuant to the terms of the 401(k) Plan and the HSA are hereby terminated and, accordingly, the
employees’ Elective Deferrals and contributions to the HSA shall not be withheld from the last
paychecks of the employees.

Approval of Minutes

               WHEREAS, the Board has reviewed the minutes of the Board meetings held on
March 21, 2022, April 7, 2022, April 29, 2022, May 11, 2022, May 20, 2022, June 2, 2022, June
4, 2022, and June 6, 2022 (the “Minutes”), in each case, in the form provided to the Board in
advance for review.

               NOW, THEREFORE, BE IT:

               RESOLVED, that the Minutes are hereby approved in all respects.

General Authorizing Resolutions

                RESOLVED, that the Authorized Officers be, and each hereby is, authorized,
directed, and empowered from time to time to take such actions and execute and deliver such
documents as may be required or as the Authorized Officers may determine to be necessary,
appropriate, or desirable to carry out the intent and purpose of the foregoing resolutions or to obtain
the relief sought thereby, including without limitation the execution and delivery of any petitions,
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schedules, lists, declarations, affidavits, and other papers or documents, with all such actions to be
taken in such manner, and all such petitions, schedules, lists, declarations, affidavits, and other
papers or documents to be executed and delivered in such form as the Authorized Officers shall
approve, the taking or execution thereof by any Authorized Officer being conclusive evidence of
the approval thereof by the Authorized Officers; and it is further

               RESOLVED, that all of the acts and transactions relating to matters contemplated
by the foregoing resolutions, which acts and transactions would have been authorized and
approved by the foregoing resolutions except that such acts and transactions were taken prior to
the adoption of such resolutions, be, and they hereby are, in all respects confirmed, approved, and
ratified.



                           [Remainder of Page Intentionally Left Blank]
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               IN WITNESS WHEREOF, the undersigned members, constituting a majority of
the Board, hereby approve these resolutions effective as of the date first written above.


                                         BOARD OF DIRECTORS:



                                         Shauna F. McIntyre




                                         Brian M. Krzanich




                                         Richard N. Peretz
                            Case 22-10537-MFW               Doc 1       Filed 06/14/22         Page 11 of 15


                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                                          )
         In re:                                                           )   Chapter 7
                                                                          )
         ELECTRIC LAST MILE SOLUTIONS, INC.,1                             )   Case No. 22-_____ (___)
                                                                          )
                           Debtor.                                        )
                                                                          )
                                                                          )
                                                                          )
         In re:                                                           )   Chapter 7
                                                                          )
         ELECTRIC LAST MILE, INC.,                                        )   Case No. 22-_____ (___)
                                                                          )
                           Debtor.                                        )
                                                                          )

                   CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
                                 TO FED. R. BANKR. P. 1007(a)(1)

                             Pursuant to Rule 1007(a)(1) of the Federal Rules of Bankruptcy Procedure, Electric

         Last Mile Solutions, Inc. and its affiliated debtor (each a “Debtor,” and together, the “Debtors”) in

         the above-captioned chapter 7 cases hereby states that the following is a list of corporations, other

         than governmental units, that directly or indirectly own 10% or more of any class of interests in

         the Debtors:

                             1.       The following corporations own more than 10% of Debtor Electric Last

         Mile Solutions, Inc.:

             AJ Capital Investment, LLC                                 Luo Pan Investment II, LLC
             5000 Charing Cross Road                                    5000 Charing Cross Road
             Bloomfield Hills, MI 48304                                 Bloomfield Hills, MI 48304


                             2.       Electric Last Mile Solutions, Inc. wholly owns Debtor Electric Last Mile,

         Inc.


             1
               The Debtors in the above captioned Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax
             identification number, are as follows: Electric Last Mile Solutions, Inc. (8711), and Electric Last Mile, Inc. (0357).
29396558.1
             The Debtors’ principal place of business is 1055 W Square Lake Road, Troy, Michigan 48098.
                               Case 22-10537-MFW                 Doc 1        Filed 06/14/22        Page 12 of 15




 Fill in tlus information to 1dent1fy the case

 Debtor name        Electric l.aet Mlle Solutions, Inc.

 Unled States Bankruptcy Court for the: _D_IS TRIC T O_F _D"""E""'LA
                                                ______
                                            _____                 .....W_ME.......,.......___________

 Case nurrber (If knoiitl!l)
                                                                                                                          D    Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An Individual who Is authorized to act on behalf of a non-Individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and llablHties, any other documentthat requires a declaration thatIs notIncluded In the document, and any
amendments of those documents. This form must stat8 the Individual'• position or relationshipto the debtor, the Identity of the document,
and the data. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud la a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result In fines upto $500,000 or Imprisonmentfor upto 20 years, or both. 18 U.S.C. §§ 152, 1341,
 1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have exam ined the informa tion in the documents checkedbelow and I have a reasonablebelief that the information is true and correct:

        O        Schedule AIB: Asset1rReal and Personal Property (Official Form 206A/B)
        O        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        O        Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        O        Schedule G: Executory Contracts and Unexpired Lesses (Official Form 206G)
        □        Schedule H: Codebtots (Official Form 206H)
        O        Summary ofAssets BIid Usbilities for Non-Individuals (Official Form 206Sum)
        O        Amended Schedule
        O        Chapter 11 or Chapter 9 Cases: Ust of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration
        �                                                        _C_o_rp..._o_ra_te_Owne
                                                                                    __rs_h_.._i p-'S;..;tatern=
                                                                                                              = ;..;.• nt;;.;....
                                                                                                                           ______________ _

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on            June 141 2022


                                                               Rob


                                                               CFO and Treasurer
                                                               Position or relationship to debtor




Official Fonn 202                                     Declaration Under Penalty of Perjury for Non-Individual Debtors
                           Case 22-10537-MFW                     Doc 1        Filed 06/14/22             Page 13 of 15




                                      THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                                                )
         In re:                                                                 )     Chapter 7
                                                                                )
         ELECTRIC LAST MILE SOLUTIONS, INC.,1                                   )     Case No. 22-_____ (___)
                                                                                )
                           Debtor.                                              )
                                                                                )
                                                                                )
                                                                                )
         In re:                                                                 )     Chapter 7
                                                                                )
         ELECTRIC LAST MILE, INC.,                                              )     Case No. 22-_____ (___)
                                                                                )
                           Debtor.                                              )
                                                                                )


                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS

             1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that my firm,
             Young Conaway Stargatt & Taylor, LLP (“YCST”) is counsel for the above-captioned
             debtors (the “Debtors”) and that compensation paid to YCST within one year before the
             filing of the petition in bankruptcy, or agreed to be paid to YCST, for services rendered
             or to be rendered on behalf of the Debtors in contemplation of or in connection with the
             bankruptcy cases is as follows:

             For legal services, YCST has agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . $150,000

             Prior to the filing of this statement YCST has received . . . . . . . . . . . . . . . . . $150,000

             Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0

             2.        The source of the compensation paid to YCST was Debtor Electric Last Mile, Inc.

             3.     YCST has not agreed to share the above-disclosed compensation with any other
             person unless they are a partner, counsel, or associate of YCST.




             1
               The Debtors in the above captioned Chapter 7 Cases, along with the last four digits of each Debtor’s
             federal tax identification number, are as follows: Electric Last Mile Solutions, Inc. (8711), and Electric Last
             Mile, Inc. (0357). The Debtors’ principal place of business is 1055 W Square Lake Road, Troy, Michigan
             48098.
29401902.1
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             4.     In return for the above-disclosed fee, YCST has agreed to pay the filing fees
             required to commence these bankruptcy cases and has further agreed to render legal
             services relating to these bankruptcy cases, including:

                    a.      Analysis of the Debtors’ financial situation, and rendering advice to the
             Debtors in determining whether to file bankruptcy petitions;

                    b.    Preparation and filing of voluntary petitions in bankruptcy and certain
             other documents that may be required;

                    c.     Representation of the Debtors at the meeting of creditors, and any
             adjourned hearings thereof.

             5.     By agreement with the Debtors, the above-disclosed fee does not include the
             representation of the Debtors in adversary proceedings and other contested bankruptcy
             matters; nor does it include any future non-bankruptcy representation.




29401902.1
                                                          2
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                                              CERTIFICATION

                           I hereby certify that the foregoing is a complete statement of any
             agreement or arrangement for payment to YCST for representation of the Debtors in
             these bankruptcy proceedings.


              Dated: Wilmington, Delaware            YOUNG CONAWAY STARGATT & TAYLOR, LLP
                     June 14, 2022

                                                     /s/ Kara Hammond Coyle
                                                     Kara Hammond Coyle (No. 4410)
                                                     Joseph M. Mulvihill (No. 6061)
                                                     Rodney Square
                                                     1000 N. King Street
                                                     Wilmington, Delaware 19801
                                                     Telephone: (302) 571-6600
                                                     Facsimile: (302) 571-1253

                                                     Counsel for the Debtors




29401902.1
                                                        3
